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 Jeffery T. Martin, Jr., VSB #71860
 Martin Law Group, P.C.
 8065 Leesburg Pike, Suite 750
 Vienna, VA 22182
 703-834-5550 Office
 703-223-1822 Direct
 Jeff@martinlawgroupva.com
 Counsel for the Debtor

                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                        (Alexandria)

 In re:                                               )
                                                      )       Case No. 23-10566-KHK
 EAGLE PROPERTIES AND INVESTMENTS,                    )
 LLC,                                                 )       Chapter 11
                                                      )
                           Debtor.                    )
                                                      )

            THIRD STIPULATION REGARDING USE OF CASH COLLATERAL

          THIS MATTER is before the Court on the Debtor, Eagle Properties & Investments

 LLC’s, Motion for Use of Cash Collateral. (Dkt. 62) (“Debtor’s Motion”), upon which this Court

 entered the First Interim Omnibus Order Authorizing use of Cash Collateral (Dkt. 87), the

 Second Interim Omnibus Order Authorizing use of Cash Collateral (Dkt. 145), the Stipulation

 Regarding Use of Cash Collateral (Dkt. 212) and the Second Stipulation Regarding Use of Cash

 Collateral (Dkt. 222) (collectively, the “Cash Collateral Order”) which is currently set to expire

 on November 28, 2023, at 5:00 p.m.; and

          UPON AGREEMENT OF THE PARTIES as evidenced by the signatures of counsel set

 forth below, the Parties desire to continue the terms of the Cash Collateral Order for an

 additional period of time (the “Supplemental Period”) and subject to the budget attached hereto

 as Exhibit A (the “Budget”), with the Supplemental Period commencing at 5:00 p.m. on

 November 28, 2023, and continuing through 5:00 p.m. on January 31, 2024; and



                                                  1
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         UPON AGREEMENT OF THE PARTIES, the Debtor shall keep monthly payments

 current to all secured creditors during the Supplemental Period as set forth in the Budget, and

         UPON AGREEMENT OF THE PARTIES the terms set forth in the Cash Collateral

 Order shall continue through the Supplemental Period with a final hearing on use of cash

 collateral set for January 23, 2024, at 12:00 p.m. via an in-person hearing.

       Dec 15 2023                                          /s/ Klinette H Kindred
 Date: __
                                                      The Honorable Klinette H. Kindred
                                                      United States Bankruptcy Court

 WE ASK FOR THIS:                                     Entered On Docket: Dec 18 2023


 /s Jeffery T. Martin, Jr.
 Jeffery T. Martin, Jr., VSB #71860
 Martin Law Group, P.C.
 8065 Leesburg Pike, Suite 750
 Vienna, VA 22182
 Jeff@martinlawgroupva.com
 Counsel for the Debtor

 SEEN:

 /s/ David S. Musgrave________
 David S. Musgrave, VSB 35327
 Gordon Feinblatt LLC
 1001 Fleet Street, Suite 700
 Baltimore, Maryland 21202
 Email: dmusgrave@gfrlaw.com
 Counsel for Fulton Bank, N.A.

 SEEN:

 /s/ Bradley J. Swallow__________
 Bradley J. Swallow, VSB # 32170
 Eric S. Schuster, Pro Hoc Vice Admittee
 Funk & Bolton
 100 Light Street, #1400
 Baltimore, Maryland
 Email: eschuster@fblaw.com
 Counsel for MainStreet Bank


                                                  2
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 SEEN:

 /s/ Hannah Hutman_________
 Hannah Hutman, VSB # 79635
 Hoover Penrod PLC
 342 South Main Street
 Harrisonburg, VA 22801
 mail: hhutman@hooverpenrod.com
 Counsel for Bank of Clarke County


 SEEN:

 /s/ James R. Meizanis____
 James R. Meizanis, Jr., VSB # 80692
 Blankingship & Keith, P.C.
 4020 University Drive, Suite 300
 Fairfax, Virginia 22030
 Email: jmeizanis@bklawva.com
 Counsel for Virginia Partners Bank


 SEEN and Objected to for the reasons stated in Bala Jain’s Response to Motion for the Use of
 Cash Collateral (Dkt 72) and at the hearings on the Debtor’s Motion to Use Cash Collateral held
 on May 23, 2023 and July 13, 2023:

 /s/ Christopher L. Rogan
 Christopher L. Rogan, VSB # 30344
 RoganMillerZimmerman, PLLC
 50 Catoctin Circle, NE, Suite 300
 Leesburg, VA 20176
 Email: crogan@RMZLawFirm.com
 Counsel for Bala Jain LLC



                               LOCAL RULE 9022-1 CERTIFICATION

            The undersigned hereby certifies that this proposed order has been signed by all necessary
 parties.

                                                         /s Jeffery T. Martin, Jr.
                                                         Jeffery T. Martin, Jr.


                                             END OF ORDER


                                                    3
 GFRDOCS\42372\149975\10479648.v1-11/27/23
                                                                                                        Eagle Properties and Investments LLC
                                                                                                            13-Week Cash Flow Forecast


           Week Number                                          1            2            3              4               5               6              7            8                 9             10          11               12            13            Total
           Week Ending Date                                 11/3/2023    11/10/2023   11/17/2023    11/24/2023       12/6/2023      12/13/2023     12/20/2023    12/272023         1/3/2024      1/10/2024   1/17/2024        1/24/2024     1/31/2024        13-week

I.    Receipts
      a.  Rental Income
          1/ 1203 Cottage St SW Vienna, VA 22180            $      -     $       -    $       -     $        -       $       -      $          -   $       -     $       -     $          -      $       -   $       -       $        -     $       -    $            -
             449 Lawyers Rd NW Vienna, VA 22180                  4,500           -            -              -             4,500               -           -             -              4,500            -           -                -             -              13,500
             1010 Lynn St SW Vienna, VA 22180                    4,500           -            -              -             4,500               -           -             -              4,500            -           -                -             -              13,500
             1001 Manning Dr Falmouth, VA 22405                  1,100           -            -              -             1,100               -           -             -              1,100            -           -                -             -               3,300
             580 W Areba Ave Hershey, PA 17033                   2,500           -            -              -             2,500               -           -             -              2,600            -           -                -             -               7,600
             213 N Port Street Baltimore MD 21224                  -             -            -              -               -                 -           -             -                -              -           -                -             -                 -
          1/ 3002 Williamsburg Road Richmond VA 23231              -             -            -              -               -                 -           -             -                -              -           -                -             -                 -
             1343 Church Rd Hershey PA 17033                     2,400           -            -              -             2,400               -           -             -              2,400            -           -                -             -               7,200
          1/ 7616 Grove Ave, Harrisburg PA 17112                   -             -            -              -               -                 -           -             -                -              -           -                -             -                 -
             15474 Roxbury Rd Glenwood MD 21738                    -             -            -              -             4,100               -           -             -              4,100            -           -                -             -               8,200
                                                                                                                                                                                                                                                                                             Case 23-10566-KHK




             1635 Church Rd Hershey PA 17033                     2,500           -            -              -             2,500               -           -             -              2,500            -           -                -             -               7,500
             202 N Port Street Baltimore MD 21224                  -             -            -              -               -                 -           -             -                -              -           -                -             -                 -
             3012 Dupont Ave Baltimore, MD 21215                 1,500           -            -              -             1,500               -           -             -              1,500            -           -                -             -               4,500
             445 Windover Avenue Vienna VA 22180                 4,500           -            -              -             4,500               -           -             -              4,500            -           -                -             -              13,500
             71 Lucy Ave Hummelstown PA 17036                    1,100           -            -              -             1,100               -           -             -              1,100            -           -                -             -               3,300
          3/ 897 W Lombard St Baltimore, MD 21201                  -             -            -              -               -                 -           -             -                -              -           -                -             -                 -
          3/ 3110 P Street Richmond VA 23223                       -             -            -              -               -                 -           -             -                -              -           -                -             -                 -
             2565 & 2567 Chain Bridge Rd Vienna, VA 22181        6,500           -            -              -             6,500               -           -             -              6,500            -           -                -             -              19,500
          1/ 7180 Jonestown Rd Harrisburg PA 17112                 -             -            -              -               -                 -           -             -                -              -           -                -             -                 -
                                                                                                                                                                                                                                                                                             Doc 253




          1/ 7213 Linglestown Rd, Harrisburg, PA 17112             -             -            -              -               -                 -           -             -                -              -           -                -             -                 -
             249 Berkstone Dr Harrisburg PA 17112                  -             -            -            4,100             -                 -           -           4,100              -              -           -              4,100           -              12,300
             6961 Sterling Rd, Harrisburg, PA 17112                -             -          3,900            -               -                 -         3,900           -                -              -         3,900              -             -              11,700
                   Total Rental Income                          31,100           -          3,900          4,100          35,200               -         3,900         4,100           35,300            -         3,900            4,100           -             101,600

      b.   Air BnB / Vrbo Income
               1630 E Chocolate Ave Hershey PA 17033                -            -            -              -               -                 -           -             -                -              -           -                -             -                 -
               7939 Rider Ln Hummelstown, PA 17036                  -            -          1,064          1,403           1,634               -           -             -              3,500            -           -                -             -               7,601
               204 S Fairville Ave Harrisburg PA 17112              -            -            -              -               -                 -           -             -                -              -           -                -             -                 -
               6958 New Oxford Rd, Harrisburg, PA 17112             -            -            -              -               -                 -           -             -                -              -           -                -             -                 -
                                                                                                                                                                                                                                                                        Document




                   Total Air BnB Income                             -            -          1,064          1,403           1,634               -           -             -              3,500            -           -                -             -               7,601

                     Total Receipts                             31,100           -          4,964          5,503          36,834               -         3,900         4,100           38,800            -         3,900            4,100           -             109,201

II.   Disbursements
      a.  Mortgages
             1203 Cottage St SW Vienna, VA 22180                    -            -            -               -           (3,028)              -           -             -             (3,028)           -           -                -             -              (6,055)
             449 Lawyers Rd NW Vienna, VA 22180                     -            -            -               -           (5,590)              -           -             -             (5,590)           -           -                -             -             (11,181)
             1010 Lynn St SW Vienna, VA 22180                       -            -            -               -           (3,136)              -           -             -             (3,136)           -           -                -             -              (6,272)
             1001 Manning Dr Falmouth, VA 22405                     -            -            -               -             (887)              -           -             -               (887)           -           -                -             -              (1,773)
             1630 E Chocolate Ave Hershey PA 17033                  -            -            -               -             (807)              -           -             -               (807)           -           -                -             -              (1,615)
             580 W Areba Ave Hershey, PA 17033                      -            -            -               -             (114)              -           -             -               (114)           -           -                -             -                (228)
                                                                                                                                                                                                                                                                                      Page 4 of 6




             213 N Port Street Baltimore MD 21224                   -            -            -               -             (798)              -           -             -               (798)           -           -                -             -              (1,595)
             7939 Rider Ln Hummelstown, PA 17036                    -            -            -               -           (1,293)              -           -             -             (1,293)           -           -                -             -              (2,587)
             3002 Williamsburg Road Richmond VA 23231               -            -            -               -           (1,486)              -           -             -             (1,486)           -           -                -             -              (2,971)
             1343 Church Rd Hershey PA 17033                        -            -            -               -           (1,264)              -           -             -             (1,264)           -           -                -             -              (2,527)
             7616 Grove Ave, Harrisburg PA 17112                    -            -            -               -           (1,260)              -           -             -             (1,260)           -           -                -             -              (2,520)
             249 Berkstone Dr Harrisburg PA 17112                   -            -            -               -           (1,044)              -           -             -             (1,044)           -           -                -             -              (2,087)
             204 S Fairville Ave Harrisburg PA 17112                -            -            -               -             (900)              -           -             -               (900)           -           -                -             -              (1,801)
             15474 Roxbury Rd Glenwood MD 21738                     -            -            -               -           (2,660)              -           -             -             (2,660)           -           -                -             -              (5,320)
             1635 Church Rd Hershey PA 17033                        -            -            -               -           (1,400)              -           -             -             (1,400)           -           -                -             -              (2,799)
             202 N Port Street Baltimore MD 21224                   -            -            -               -             (659)              -           -             -               (659)           -           -                -             -              (1,319)
             3012 Dupont Ave Baltimore, MD 21215                    -            -            -               -             (746)              -           -             -               (746)           -           -                -             -              (1,491)
             445 Windover Avenue Vienna VA 22180                    -            -            -               -           (3,203)              -           -             -             (3,203)           -           -                -             -              (6,407)
             71 Lucy Ave Hummelstown PA 17036                       -            -            -               -           (1,980)              -           -             -             (1,980)           -           -                -             -              (3,960)
             897 W Lombard St Baltimore, MD 21201                   -            -            -               -              -                 -           -             -                -              -           -                -             -                 -
             3110 P Street Richmond VA 23223                        -            -            -               -              -                 -           -             -                -              -           -                -             -                 -
             2565 & 2567 Chain Bridge Rd Vienna, VA 22181           -            -            -               -           (4,380)              -           -             -             (4,380)           -           -                -             -              (8,761)
                                                                                                                                                                                                                                                                         Filed 12/18/23 Entered 12/18/23 08:50:04




          5/ 6958 New Oxford Rd, Harrisburg, PA 17112               -            -            -               -           (1,949)              -           -             -             (1,949)           -           -                -             -              (3,898)
             7180 Jonestown Rd Harrisburg PA 17112                  -            -            -               -           (1,628)              -           -             -             (1,628)           -           -                -             -              (3,255)
             7213 Linglestown Rd, Harrisburg, PA 17112              -            -            -               -           (2,153)              -           -             -             (2,153)           -           -                -             -              (4,305)
             6961 Sterling Rd, Harrisburg, PA 17112                 -            -            -               -           (1,444)              -           -             -             (1,444)           -           -                -             -              (2,888)
                  Total Mortgage Disbursements                      -            -            -               -          (43,807)              -           -             -            (43,807)           -           -                -             -             (87,614)

      b.   Property Taxes
              1203 Cottage St SW Vienna, VA 22180                   -            -            -               -              -                 -           -             -                -              -           -                -             -                 -
              449 Lawyers Rd NW Vienna, VA 22180                    -            -            -               -              -                 -           -             -                -              -           -                -             -                 -
              1010 Lynn St SW Vienna, VA 22180                      -            -            -               -              -                 -           -             -                -              -           -                -             -                 -
              1001 Manning Dr Falmouth, VA 22405                    -            -            -               -              -                 -           -             -                -              -           -                -             -                 -
              1630 E Chocolate Ave Hershey PA 17033                 -            -            -            (1,583)           -                 -           -             -                -              -           -                -             -              (1,583)
                                                                                                                                                                                                                                                                                             Desc Main




              580 W Areba Ave Hershey, PA 17033                     -            -            -            (2,791)           -                 -           -             -                -              -           -                -             -              (2,791)




                                                                                                                                                                                                                           Prepared by SC&H Group, Inc. on 11/22/2023 at 2:29 PM
                                                                                                             Eagle Properties and Investments LLC
                                                                                                                 13-Week Cash Flow Forecast


     Week Number                                                  1              2              3               4             5               6              7             8              9             10             11                12             13           Total
     Week Ending Date                                         11/3/2023      11/10/2023     11/17/2023     11/24/2023     12/6/2023      12/13/2023     12/20/2023     12/272023      1/3/2024      1/10/2024      1/17/2024         1/24/2024      1/31/2024       13-week

        213 N Port Street Baltimore MD 21224                          -              -              -           (2,555)           -                 -           -              -             -              -              -                 -              -             (2,555)
        7939 Rider Ln Hummelstown, PA 17036                           -              -              -           (1,877)           -                 -           -              -             -              -              -                 -              -             (1,877)
        3002 Williamsburg Road Richmond VA 23231                      -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
        1343 Church Rd Hershey PA 17033                               -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
        7616 Grove Ave, Harrisburg PA 17112                           -              -              -           (2,277)           -                 -           -              -             -              -              -                 -              -             (2,277)
        249 Berkstone Dr Harrisburg PA 17112                          -              -              -           (2,173)           -                 -           -              -             -              -              -                 -              -             (2,173)
        204 S Fairville Ave Harrisburg PA 17112                       -              -              -           (1,900)           -                 -           -              -             -              -              -                 -              -             (1,900)
        15474 Roxbury Rd Glenwood MD 21738                            -              -              -           (7,982)           -                 -           -              -             -              -              -                 -              -             (7,982)
        1635 Church Rd Hershey PA 17033                               -              -              -           (3,652)           -                 -           -              -             -              -              -                 -              -             (3,652)
        202 N Port Street Baltimore MD 21224                          -              -              -           (4,235)           -                 -           -              -             -              -              -                 -              -             (4,235)
        3012 Dupont Ave Baltimore, MD 21215                           -              -              -           (1,809)           -                 -           -              -             -              -              -                 -              -             (1,809)
        445 Windover Avenue Vienna VA 22180                           -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
                                                                                                                                                                                                                                                                                                      Case 23-10566-KHK




        71 Lucy Ave Hummelstown PA 17036                              -              -              -             (948)           -                 -           -              -             -              -              -                 -              -               (948)
        897 W Lombard St Baltimore, MD 21201                                         -              -           (4,062)           -                 -           -              -             -              -              -                 -              -             (4,062)
        3110 P Street Richmond VA 23223                               -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
        2565 & 2567 Chain Bridge Rd Vienna, VA 22181                  -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
        6958 New Oxford Rd, Harrisburg, PA 17112                      -              -              -           (2,206)           -                 -           -              -             -              -              -                 -              -             (2,206)
        7180 Jonestown Rd Harrisburg PA 17112                         -              -              -           (2,097)           -                 -           -              -             -              -              -                 -              -             (2,097)
        7213 Linglestown Rd, Harrisburg, PA 17112                     -              -              -           (3,844)           -                 -           -              -             -              -              -                 -              -             (3,844)
        6961 Sterling Rd, Harrisburg, PA 17112                        -              -              -           (1,720)           -                 -           -              -             -              -              -                 -              -             (1,720)
             Total Property Tax Disbursements                         -              -              -          (47,711)           -                 -           -              -             -              -              -                 -              -            (47,711)
                                                                                                                                                                                                                                                                                                      Doc 253




c.   Property Insurance
        1203 Cottage St SW Vienna, VA 22180                          (130)           -              -              -              (65)              -           -              -             (65)           -              -                 -              -               (260)
        449 Lawyers Rd NW Vienna, VA 22180                           (141)           -              -              -              (71)              -           -              -             (71)           -              -                 -              -               (283)
        1010 Lynn St SW Vienna, VA 22180                             (115)           -              -              -              (57)              -           -              -             (57)           -              -                 -              -               (229)
        1001 Manning Dr Falmouth, VA 22405                           (111)           -              -              -              (53)              -           -              -             (53)           -              -                 -              -               (217)
        1630 E Chocolate Ave Hershey PA 17033                         -              -              -              -              (57)              -           -              -             (57)           -              -                 -              -               (113)
        580 W Areba Ave Hershey, PA 17033                             -              -              -              -              (76)              -           -              -             (76)           -              -                 -              -               (152)
        213 N Port Street Baltimore MD 21224                         (132)           -              -              -              (74)              -           -              -             (74)           -              -                 -              -               (279)
        7939 Rider Ln Hummelstown, PA 17036                           -              -              -              -              (68)              -           -              -             (68)           -              -                 -              -               (137)
                                                                                                                                                                                                                                                                                 Document




        3002 Williamsburg Road Richmond VA 23231                     (179)           -              -              -              (89)              -           -              -             (89)           -              -                 -              -               (357)
        1343 Church Rd Hershey PA 17033                               -              -              -              -              (77)              -           -              -             (77)           -              -                 -              -               (153)
     6/ 7616 Grove Ave, Harrisburg PA 17112                           -             (193)           -              -              -                 -           -              -             -              -              -                 -              -               (193)
     6/ 249 Berkstone Dr Harrisburg PA 17112                          -             (339)           -              -              -                 -           -              -             -              -              -                 -              -               (339)
     6/ 204 S Fairville Ave Harrisburg PA 17112                       -             (203)           -              -              -                 -           -              -             -              -              -                 -              -               (203)
        15474 Roxbury Rd Glenwood MD 21738                           (160)           -              -              -              (81)              -           -              -             (81)           -              -                 -              -               (322)
        1635 Church Rd Hershey PA 17033                               -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
        202 N Port Street Baltimore MD 21224                         (163)           -              -              -              (82)              -           -              -             (82)           -              -                 -              -               (326)
        3012 Dupont Ave Baltimore, MD 21215                          (112)           -              -              -              (50)              -           -              -             (50)           -              -                 -              -               (212)
        445 Windover Avenue Vienna VA 22180                          (133)           -              -              -              (76)              -           -              -             (76)           -              -                 -              -               (284)
     6/ 71 Lucy Ave Hummelstown PA 17036                              -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
        897 W Lombard St Baltimore, MD 21201                         (142)           -              -              -              (54)              -           -              -             (54)           -              -                 -              -               (250)
     6/ 3110 P Street Richmond VA 23223                               -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
                                                                                                                                                                                                                                                                                               Page 5 of 6




     6/ 2565 & 2567 Chain Bridge Rd Vienna, VA 22181                  -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
     6/ 6958 New Oxford Rd, Harrisburg, PA 17112                      -          (109.59)           -              -              -                 -           -              -             -              -              -                 -              -               (110)
     6/ 7180 Jonestown Rd Harrisburg PA 17112                         -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
     6/ 7213 Linglestown Rd, Harrisburg, PA 17112                     -          (133.90)           -              -              -                 -           -              -             -              -              -                 -              -               (134)
     6/ 6961 Sterling Rd, Harrisburg, PA 17112                        -              -              -              -              -                 -           -              -             -              -              -                 -              -                -
              Total Property Insurance Disbursements               (1,517)          (978)           -              -           (1,029)              -           -              -          (1,029)           -              -                 -              -             (4,553)

d.   General and Administrative Disbursements
     7/ Cleaning Fee (Air BnB Properties)                             -              -             (500)          (500)          (500)          (500)          (500)          (500)         (500)          (500)          (500)             (500)          (500)          (5,500)
     8/ Utilities (Air BnB Properties)                                -              -              -              -             (200)           -              -              -            (200)           -              -                 -              -               (400)
     9/ Internet (Air BnB Properties)                                 -              -              -              -             (110)           -              -              -            (110)           -              -                 -              -               (220)
     10/ Security System (Air BnB Properties)                         -              -              -              -             (120)           -              -              -            (120)           -              -                 -              -               (240)
     11/ Lawn Service (Air BnB Properties)                            -              -              -              -             (180)           -              -              -            (180)           -              -                 -              -               (360)
        Miscellaneous                                                 -              -              -              -              -              -              -              -             -              -              -                 -              -                -
             Total General and Administrative Disbursements           -              -             (500)          (500)        (1,110)          (500)          (500)          (500)       (1,110)          (500)          (500)             (500)          (500)          (6,720)
                                                                                                                                                                                                                                                                                  Filed 12/18/23 Entered 12/18/23 08:50:04




e.   Professional Fee Disbursements
        USTO Fee                                                      -              -              -              -              -                 -           -              -             -              -              -                (535)           -                 (535)
              Total Other Disbursements                               -              -              -              -              -                 -           -              -            (250)           -              -                 -              -                 (535)

              Total Disbursements                                    983            (978)          (500)       (48,211)       (45,946)          (500)          (500)          (500)      (46,196)          (500)          (500)             (500)          (500)        (147,133)
                                                                                                                                                                                                                                                                                                      Desc Main




                                                                                                                                                                                                                                  Prepared by SC&H Group, Inc. on 11/22/2023 at 2:29 PM
                                                                                                                                                    Eagle Properties and Investments LLC
                                                                                                                                                        13-Week Cash Flow Forecast


             Week Number                                                                          1                2                3                 4                5                 6                7                8              9             10             11                12             13           Total
             Week Ending Date                                                                 11/3/2023        11/10/2023       11/17/2023       11/24/2023        12/6/2023        12/13/2023       12/20/2023        12/272023      1/3/2024      1/10/2024      1/17/2024         1/24/2024      1/31/2024       13-week

III.         Cash Reconciliation
               Beginning Balance                                                                   85,995          118,078           117,100          121,564            78,856           69,744           69,244           72,644        76,244         68,848         68,348            71,748         75,348
                    Receipts                                                                       31,100              -               4,964            5,503            36,834              -              3,900            4,100        38,800            -            3,900             4,100            -
                    Disbursements                                                                     983             (978)             (500)         (48,211)          (45,946)            (500)            (500)            (500)      (46,196)          (500)          (500)             (500)          (500)
               Ending Balance                                                                     118,078          117,100           121,564           78,856            69,744           69,244           72,644           76,244        68,848         68,348         71,748            75,348         74,848




        NOTES:
 1/    This property is currently vacant.

 3/    Property abandoned by estate.
                                                                                                                                                                                                                                                                                                                                                    Case 23-10566-KHK




5/     New Oxford Rd. has a variable rate loan.
6/     This property's insurance is paid yearly.
7/     Each properties rented through Air BnB / Vrbo must be cleaned after each booking. Per management, Eagle pays a cleaning service $250 to clean the properties the within a couple of days after the end of the booking.
8/     Eagle only pays utilities on the properties rented through Air BnB / Vrbo. For each of these two properties the utility bill is on average $200 per month.
9/     Eagle only pays for internet on the properties rented through Air BnB / Vrbo. For each of these six properties the internet bill is $55 per month.
10/    Eagle only pays for a security system on the properties rented through Air BnB / Vrbo. For each of the six properties the security system cost $60 per month.
11/    Eagle only pays for lawn care on the properties rented through Air BnB / Vrbo. Each of the six properties has to be mowed every other week and cost $45 per mowing.
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